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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEVADA

UNITED STATES OF AMERICA,      )             CR. No. 05-00121 DAE-RJJ
                               )
               Plaintiff,      )
                               )
           vs.                 )
                               )
HEIDI J. RASMUSSEN, [16]       )
                               )
               Defendant.      )
_______________________________)

                   ORDER RESCHEDULING SENTENCING

            The Court hereby reschedules the sentencing of Defendant Heidi

Rasmussen from August 25, 2010, to Tuesday, September 14, 2010, at 9:30 a.m.,

at the United States District Court for the District of Nevada, 333 Las Vegas

Boulevard, South, Las Vegas, Nevada, in a courtroom to be assigned.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, August 10, 2010.




                                _________________________________
                                DAVID ALAN EZRA
                                UNITED STATES DISTRICT JUDGE
